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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

SAUNDRA G. ELION,                   )
                                    )
             Plaintiff,             )
                                    )
       v.                           )               Civ. Action No. 05-0992 (PLF)
                                    )
ALPHONSO R. JACKSON,                )
  Secretary Of Housing And          )
  Urban Development,                )
                                    )
             Defendant.             )
____________________________________)

            NOTICE RE: DEFENDANT’S RESPONSE TO COURT’S ORDER

       Defendant filed its Response to the Court’s Order (Dkt. No 94) earlier today but did not

have an opportunity to attach the two exhibits referenced in that filing. Accordingly, Defendant

hereby submits the two exhibits to Defendant’s Response to the Court’s Order. See Gov. Exh. 1

and Gov. Exh. 2.

Dated: March 1, 2008.                       Respectfully Submitted,

                                              /s/ Jeffrey A. Taylor
                                            JEFFREY A. TAYLOR, D.C. BAR # 498610
                                            United States Attorney

                                              /s/ Rudolph Contreras
                                            RUDOLPH CONTRERAS, D.C. BAR #434122
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                                               /s/ John C. Truong
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